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                       Exhibit 3
                 TO UNITED STATES’ BILL OF COSTS
                                                                                                      Exhibit 3
                                                 Fees for printed or electronically recorded transcripts necessarily obtained for use in the case, 28 U.S.C. §1920(2)
                                                                                                (Court Proceedings)
                    FEES FOR PRINTED OR ELECTRONICALLY RECORDED TRANSCRIPTS NECESSARILY OBTAINED                                                                    TRANSCRIPT
                                                                                                                                              DATE                                 PAGE(S)          Comments
                                 FOR USE IN THE CASE, 28 U.S.C. §1920(2) (Court Proceedings)                                                                          COSTS
TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS BEFORE JUDGE SHUSHAN ON 11/18/11                                                               11/18/2011           $         89.10      1

TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS BEFORE JUDGE BARBIER ON 11/18/11                                                               11/18/2011           $         96.30      2

TRANSCRIPT OF PRETRIAL CONFERENCE HELD ON 9/11/13                                                                                           9/11/2013           $         63.90      3
                                                                                                                                     9/30/2013‐10/03/2013;                                   Amount reflects 1/5 of the
PHASE 2: TRIAL TRANSCRIPT AM SESSION 9/30 TO 10/3/13 (SOURCE CONTROL), PM SESSION 10/15/13 (QUANTIFICATION)                                                     $        864.00      4
                                                                                                                                          10/15/2013                                                total cost
                                                                                                                                     9/30/2013‐10/03/2013;                                   Amount reflects 1/5 of the
PHASE 2: TRIAL TRANSCRIPT PM SESSION 9/30/13‐10/3/13 (SOURCE CONTROL), 10/17/13 (QUANTIFICATION)                                                                $        864.00      5
                                                                                                                                          10/17/2013                                                total cost
                                                                                                                                     9/30/2013‐10/03/2013;                                   Amount reflects 1/5 of the
PHASE 2: TRIAL TRANSCRIPT AM SESSION 9/30 TO 10/3/13 (SOURCE CONTROL), PM SESSION 10/15/13 (QUANTIFICATION)                                                     $        140.72      6
                                                                                                                                          10/15/2013                                                total cost
                                                                                                                                     9/30/2013‐10/03/2013;                                   Amount reflects 1/5 of the
PHASE 2: TRIAL TRANSCRIPT FOR PM SESSION 9/30/13‐10/3/13 (SOURCE CONTROL), PM SESSION 10/17/13 (QUANTIFICATION)                                                 $        379.52      7
                                                                                                                                          10/17/2013                                                total cost
PHASE 2/QUANTIFICATION: DAILY TRIAL TRANSCRIPT FOR 10/7/13 AM SESSION                                                                       10/7/2013           $       1,513.17     8

PHASE 2/QUANTIFICATION: DAILY TRIAL TRANSCRIPT FOR 10/7/13 PM SESSION                                                                       10/7/2013           $       2,322.54     9

PHASE 2/QUANTIFICATION: DAILY TRIAL TRANSCRIPT FOR 10/8/13 AM SESSION                                                                       10/8/2013           $       1,395.87     10

PHASE 2/QUANTIFICATION: DAILY TRIAL TRANSCRIPT FOR 10/8/13 PM SESSION                                                                       10/8/2013           $       2,041.02     11

PHASE 2/QUANTIFICATION: DAILY TRIAL TRANSCRIPT FOR 10/9/13 AM SESSION                                                                       10/9/2013           $       1,724.31     12

PHASE 2/QUANTIFICATION: DAILY TRIAL TRANSCRIPT FOR 10/9/13 PM SESSION                                                                       10/9/2013           $       1,442.79     13

PHASE 2/QUANTIFICATION: DAILY TRIAL TRANSCRIPT FOR 10/10/13 AM SESSION                                                                     10/10/2013           $       1,607.01     14

PHASE 2/QUANTIFICATION: DAILY TRIAL TRANSCRIPT FOR 10/10/13 PM SESSION                                                                     10/10/2013           $        973.59      15

PHASE 2/QUANTIFICATION: DAILY TRIAL TRANSCRIPT FOR 10/15/13 AM SESSION                                                                     10/15/2013           $       1,802.19     16

PHASE 2/QUANTIFICATION: DAILY TRIAL TRANSCRIPT FOR 10/16/13 AM SESSION                                                                     10/16/2013           $       1,802.19     17

PHASE 2/QUANTIFICATION: DAILY TRIAL TRANSCRIPT FOR 10/17/13 AM SESSION                                                                     10/17/2013           $       1,801.26     18

PHASE 2/QUANTIFICATION: DAILY TRIAL TRANSCRIPT FOR 10/18/13 AM SESSION                                                                     10/18/2013           $       1,665.66     19

PHASE 2/QUANTIFICATION: DAILY TRIAL TRANSCRIPT FOR 10/18/13 PM SESSION                                                                     10/18/2013           $       1,055.70     20

TRANSCRIPT OF THE FINAL EXHIBIT MARSHALING CONFERENCE FOR PHASE 2 TRIAL ‐ 11/7/13                                                           11/7/2013           $         28.80      21

TRANSCRIPT OF STATUS CONFERENCE HELD ON 4/17/2014                                                                                           4/17/2014           $        103.55      22

TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS BEFORE JUDGE SHUSHAN ON JULY 24, 2014                                                           7/24/2014           $        123.00      23

TRANSCRIPT OF STATUS CONFERENCE HELD ON 8/7/14                                                                                              8/7/2014            $         39.90      24
                                                                                                                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 15835-3 Filed 02/08/16 Page 2 of 3




TRANSCRIPT OF STATUS CONFERENCE HELD ON 9/4/14                                                                                              9/4/2014            $         74.05      25




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                                                                                                     Exhibit 3
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                                                                                               (Court Proceedings)
                    FEES FOR PRINTED OR ELECTRONICALLY RECORDED TRANSCRIPTS NECESSARILY OBTAINED                                                                   TRANSCRIPT
                                                                                                                                             DATE                                  PAGE(S)   Comments
                                 FOR USE IN THE CASE, 28 U.S.C. §1920(2) (Court Proceedings)                                                                         COSTS
TRANSCRIPT OF STATUS CONFERENCE HELD ON 9/18/14                                                                                            9/18/2014           $         108.40      26

TRANSCRIPT OF STATUS CONFERENCE HELD ON 9/24/14                                                                                            9/24/2014           $         483.85      27

TRANSCRIPT OF STATUS CONFERENCE HELD 10/2/14                                                                                               10/2/2014           $          42.35      28

TRANSCRIPT OF STATUS CONFERENCE HELD 10/30/14 AND 10/31/2014                                                                        10/30/2014‐10/31/2014      $         328.00      29

TRANSCRIPT PENALTY PHASE STATUS CONFERENCE PROCEEDINGS 12/4/2014                                                                           12/4/2014           $         117.50      30

TRANSCRIPT OF PENALTY PHASE STATUS CONFERENCE HELD 12/18/14                                                                               12/18/2014           $         134.15      31

TRANSCRIPT PENALTY PHASE STATUS CONFERENCE PROCEEDINGS 1/7/2015                                                                            1/7/2015            $         217.35      32

PENALTY PHASE TRIAL: 3 REALTIME FEEDS                                                                                                 1/7/2015‐2/2/2015        $       2,524.50      33

TRANSCRIPT OF PENALTY PHASE STATUS CONFERENCE HELD 1/8/15                                                                                  1/8/2015            $          25.55      34

ADVANCE DEPOSIT FOR DAILY ROUGH & FINAL TRIAL TRANSCRIPT FOR PENALTY PHASE TRIAL                                                     1/13/2015‐1/14/2015       $       2,000.00      35

ADVANCE DEPOSIT FOR DAILY ROUGH & FINAL TRIAL TRANSCRIPT FOR PENALTY PHASE TRIAL                                                     1/13/2015‐1/14/2015       $       2,000.00      36

ADVANCE DEPOSIT FOR DAILY ROUGH & FINAL TRIAL TRANSCRIPT FOR PENALTY PHASE TRIAL                                                     1/13/2015‐1/14/2015       $       2,000.00      37

ADVANCE DEPOSIT FOR DAILY ROUGH & FINAL TRIAL TRANSCRIPT FOR PENALTY PHASE TRIAL                                                     1/13/2015‐1/14/2015       $       2,000.00      38

PENALTY PHASE TRIAL: REALTIME FEEDS FOR TRIAL PROCEEDINGS HELD ON 1/20/15‐1/23/15                                                    1/20/2015‐1/23/2015       $       2,385.00      39

PENALTY PHASE TRIAL: HOURLY TRANSCRIPT FOR 1/20/15‐1/23/15, DAYS 1‐4 MORNING SESSIONS                                                1/20/2015‐1/23/2015       $       1,036.90      40

PENALTY PHASE TRIAL: HOURLY TRIAL TRANSCRIPTS 1/26/15 TO 2/2/15, DAYS 5‐8, MORNING SESSIONS                                           1/26/2015‐2/2/2015       $       1,214.53      41

PENALTY PHASE TRIAL: HOURLY TRANSCRIPT FOR 1/26/15‐2/2/15, DAYS 5‐8 AFTERNOON SESSIONS                                                1/26/2015‐2/2/2015       $       1,237.45      42

PENALTY PHASE TRIAL: HOURLY TRANSCRIPT FOR 1/26/15‐2/2/15, DAYS 5‐8 AFTERNOON SESSIONS                                                1/26/2015‐2/2/2015       $       2,542.50      43

TOTAL                                                                                                                                                          $       44,412.17
                                                                                                                                                                                                        Case 2:10-md-02179-CJB-DPC Document 15835-3 Filed 02/08/16 Page 3 of 3




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